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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

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MEMPHIS“SHELBY COUNTY AIRPORT
AUTHORITY, et al.,

Plaintiffs, '
civ. No. 03-2649-13¢1=1/

VS.

UNITED STATES FIRE INSURANCE
CO.,

Defendant.

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ONEBEACON AMERICAN INSURANCE
COMPANY, et al.,

Plaintiffs,
vs.

Civ. NO. 04-2432-B{An

JACO AIRFIELD CONSTRUCTION,
INC., et al.,

Defendants.

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ORDER DIRECTING DEFENDANT JACO AIRFIELD CONSTRUCTION TO RESPOND
TO PLAINTIFF ONEBEACON'S MOTION FOR ATTORNEY'S FEES

 

Before the court is plaintiff OneBeacon American Insurance
Company, Commercial Unions Insurance Company and American Central
Insurance Company's (collectively "OneBeacon") motion for
attorney‘s fees, which is incorporated in OneBeacon's response to

the objections filed by defendant JACO Airfield Construction, Inc.

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to Magistrate Judge Anderson's order granting OneBeacon's motion to
compel discovery. On April 26, 2005, the District Judge affirmed
Judge Anderson's order, and. referred to this Magistrate Judge
OneBeacon's motion for attorney's fees.

A review of the record shows that JACO has not responded to
the motion for attorney's fees. Therefore, JACO is hereby ordered
to file a response to OneBeacon‘s motion for attorney's fees within

eleven (ll) days from the date of this order.

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TU M. PHAM
United States Magistrate Judge

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IT IS SO ORDERED.

Date

DISTRICT oURT - WESTERN ISRIToF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 37 in
case 2:03-CV-02649 Was distributed by faX, mail, or direct printing on
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Honorable J. Breen
US DISTRICT COURT

